Filed 8/21/24 P. v. Gonzalez CA2/4
            NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.


         IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                  SECOND APPELLATE DISTRICT

                                                DIVISION FOUR


 THE PEOPLE,                                                         B333287

           Plaintiff and Respondent,                                 (Los Angeles County
                                                                      Super. Ct. Nos.
           v.                                                         PA098225/PA100237)

 JESSE JAMES GONZALEZ,

           Defendant and Appellant.



         APPEAL from judgments of the Superior Court of Los Angeles County,
Hilleri G. Merritt, Judge. Affirmed.
         Susan Morrow Maxwell, under appointment by the Court of Appeal, for
Defendant and Appellant.
         No appearance for Plaintiff and Respondent.
      Multiple criminal cases were filed against defendant Jesse James
Gonzalez. In Los Angeles County Superior Court (LASC) case No. PA098225
(PA098225), defendant was charged by information with one count of grand
theft (Pen. Code, § 487, subd. (a)) and one prior strike conviction (Pen. Code,
§ 1170.12, subd. (b); Pen. Code, § 667, subds. (b)-(i)). In LASC case No.
PA096107 (PA096107), defendant was charged with unlawful possession of
ammunition (Pen. Code, § 30305, subd. (a)(1)), possession of a controlled
substance with a firearm (Health &amp; Saf. Code, § 11370.1, subd. (a)),
possession of a firearm by a felon (Pen. Code, § 29800, subd. (a)(1)), and one
prior strike conviction (Pen. Code, § 1170.12, subd. (b); Pen. Code, § 667,
subds. (b)-(i)).
      On April 18, 2023, the trial court conducted a plea hearing in the
PA098225 and PA096107 actions. At the hearing, defendant agreed to make
an open plea on the charges enumerated above, and the trial court agreed to
conditionally release defendant to a representative from the Los Angeles
Centers for Alcohol and Drug Abuse (L.A. CADA) so he could participate in a
six-month residential drug treatment program.
      On April 21, 2023, the trial court received notification from L.A. CADA
that defendant had refused to get on the transport van scheduled to take him
to the program. In response, the court issued a bench warrant for defendant.
      On May 1, 2023, a new criminal case was brought against defendant,
LASC case No. PA100237 (PA100237). In the PA100237 action, defendant
was charged with one count of receiving a stolen vehicle (Pen. Code, § 496,
subd. (d)) and two prior strike convictions (Pen. Code, § 1170.12, subd. (b);
Pen. Code, § 667, subds. (b)-(i)).
      On August 23, 2023, defendant entered a plea deal that provided for a
“global disposition” of the three cases, PA098225, PA096107, and PA100237.


                                       2
As part of this deal, defendant pleaded no contest to the charge against him
in case PA100237 and admitted a prior strike. In return, defendant received
a total sentence of four years in PA0961071 and consecutive aggregate terms
of 16 months each in cases PA098225 and PA100237, for a cumulative term
of six years, eight months in prison.
      Defendant filed timely notices of appeal in the PA098225 and
PA100237 actions but did not file an appeal in the PA096107 action.
      After reviewing the record, defendant’s court-appointed counsel filed an
opening brief requesting that this court independently review the record
under People v. Wende (1979) 25 Cal.3d 436, 441 (Wende). On May 3, 2024,
we informed defendant that he had 30 days to submit any contentions or
issues he wished us to consider. To date, we have received no response from
defendant.
      We have reviewed the record and are satisfied that no arguable issues
exist. By virtue of counsel’s compliance with the Wende procedure and our
examination of the record, the defendant has received adequate and effective
appellate review of the judgments entered against him. (Smith v. Robbins
(2000) 528 U.S. 259, 278; People v. Kelly (2006) 40 Cal.4th 106, 112–113.)




1     The four-year sentence was imposed for possession of a controlled
substance with a firearm (Health &amp; Saf. Code, § 11370.1, subd. (a)). The
court also sentenced defendant on the counts for unlawful possession of
ammunition (Pen. Code, § 30305, subd. (a)(1)) and possession of a firearm by
a felon (Pen. Code, § 29800, subd. (a)(1)), but ordered that sentence stayed
pursuant to Penal Code section 654.
                                        3
                        DISPOSITION
The judgments are affirmed.
NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS




                                  ZUKIN, J.

We concur:




COLLINS, Acting P. J.




MORI, J.




                              4
